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  9                      UNITED STATES DISTRICT COURT
10          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
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12    Penske Truck Leasing Co., L.P.,                   Case No. EDCV 18-2547 JGB (SPx)
13                                         Plaintiff,
14                v.                                             JUDGMENT
15
      I-10 Towing and Recovery, Inc.
16
                                        Defendants.
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19    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
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21
           Pursuant to the Order filed concurrently herewith, the Motion for Default
22
      Judgement is GRANTED. Thus, the Court:
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24
           (1)   ORDERS Defendant I-10 to immediately transfer possession of the
25
                 trucks to Penske
26
27         (2)   ORDERS the Clerk to immediately issue writs of possession for the
                 trucks to Penske;
28
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  1        (3)   DECLARES that Penske is the rightful owner of the trucks and that I-
  2              10’s possession of the trucks is wrongful;
  3        (4)   AWARDS incidental damages in the amount of $79,416; and
  4
           (5)   AWARDS $4,776.64 in fees and $400 in costs pursuant to Local Rule
  5              55-3;
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  7   Dated: March 11, 2019
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11                                          THE HONORABLE
                                                 HONORABLE JESUS G. BERNAL
                                            United
                                                 d States District Judge
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